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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:06-cr-00041-MP-AK

RAYMOND REED, JR.,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 85, Motion to Continue Sentencing, filed by

Defendant Raymond Reed, Jr. In the motion, Defendant Reed states that his counsel has had a

medical procedure and needs time to recover. Because of this, Defendant requests that his

sentencing hearing, currently set for December 5, 2007, be continued. The Government does not

object to the requested continuance. Therefore, Defendant’s motion is granted, and the

sentencing hearing is reset to Friday, February 8, 2008, at 9:00 a.m.


       DONE AND ORDERED this             28th day of November, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
